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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                      ROANOKE DIVISION

   UNITED STATES OF AMERICA                            )
                                                       )     Criminal Action No. 7:17-cr-00033-01
       v.                                              )
                                                       )     By: Elizabeth K. Dillon
   BOBBY NELSON COLLINS, JR.                           )         United States District Judge

                              MEMORANDUM OPINION AND ORDER

            On December 21, 2022, the court issued an opinion and order granting the government’s

  motion to dismiss Bobby Collins’ motion for relief pursuant to 28 U.S.C. § 2255, denying

  Collins’ § 2255 motion, declining to issue a certificate of appealability, and entering final

  judgment. (Dkt. Nos. 236, 237.) Collins moves to alter or amend the judgment. (Dkt. No. 238.)

            A motion to alter or amend a judgment pursuant to Federal Rule of Civil Procedure 59(e)

  can be granted in three circumstances: (1) to accommodate an intervening change in controlling

  law; (2) to account for new evidence not available at trial; or (3) to correct a clear error of law or

  prevent manifest injustice. Johnson v. Azar, Case No.: GJH-20-2091, 2023 WL 1070466, at *1

  (D. Md. Jan. 27, 2023) (citing In re Burnley, 988 F.2d 1, 2–3 (4th Cir. 1992)). “In general,

  reconsideration of a judgment after its entry is an extraordinary remedy which should be used

  sparingly.” Id.

            Collins argues that the court erred in declining to issue a certificate of appealability,

  which can issue only if the movant has made a substantial showing of the denial of a

  constitutional right. 28 U.S.C. § 2253(c)(2). Collins maintains that the court should have issued

  a certificate because of the conflicting testimony at the evidentiary hearing, with Collins

  testifying that he asked his lawyer, James Turk, to file a notice of appeal, and Turk testifying that

  Collins did not make such a request. Specifically, Collins notes his “clear request” to appeal at
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  the suppression hearing, which Mr. Turk did not refute or rebut. (See 10/28/22 Evid. Hr’g Tr.

  16, 45, Dkt. No. 234.) The court accounted for this request in its reasoning, noting that Collins

  “may have desired to appeal the suppression issue when the ruling went against him, but the

  evidence suggests that he understood the waiver of his right to appeal encompassed by his plea

  agreement, and he did not ask Turk to appeal following the acceptance of that plea agreement

  and the imposition of his sentence.” (Dkt. No. 236 at 8.)

         Collins also argues that the court was implicitly biased in favor of Turk’s testimony

  because of the “long and extensive professional history with Mr. Turk and his family” of the

  undersigned. (Dkt. No. 238 at 4.) He asserts that this history includes having been a colleague

  of Turk’s late father, the Honorable James C. Turk; Turk’s daughter previously working in the

  chambers of the undersigned as a judicial intern; and Turk’s son clerking at the time of the

  evidentiary hearing for another judge in this district. Collins is mistaken as to most of the above

  history given that the undersigned understands that Turk has no sons and that the undersigned

  was not on the bench during the tenure of the Honorable James C. Turk but was merely one of

  the many attorneys who appeared before him. Nonetheless, these relationships did not affect the

  court’s analysis of the evidence or the law in this case.

         Finally, Collins argues that a certificate of appealability should issue as to equitably

  tolling the time to appeal. The court found that Collins’ equitable tolling argument was

  “foreclosed by the Fourth Circuit’s holding that the deadline to file an appeal in a criminal case,

  see Fed. R. App. P. 4(b), is a ‘mandatory claim-processing rule that must be strictly applied . . .

  and equitable doctrines are unavailable to extend the deadline.’” (Dkt. No. 236 at 9 (quoting

  United States v. Marsh, 944 F.3d 524, 527 (4th Cir. 2019).) Collins now notes the Fourth

  Circuit’s recognition in Marsh that the Supreme Court “has left open the question of whether



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  some form of the unique circumstances exception might continue to apply to nonjurisdictional

  but mandatory claim-processing rules like Rule 4(b) . . . .” 944 F.3d at 533. Collins argued that

  the appeal deadline should be equitably tolled, not that the time to appeal should be extended

  pursuant to the “unique circumstances” doctrine. See id. at 531 (explaining that the unique

  circumstances doctrine is a “different equitable doctrine” than equitable tolling). In any event, as

  the court explained in its order, there would be “nothing to salvage” under either doctrine. (Dkt.

  No. 236 at 9.) “Collins did not try, and thus was not thwarted by COVID-19 in any attempt, to

  pursue an appeal following his sentencing.” (Id.)

         For these reasons, Collins’ motion to alter or amend the judgment (Dkt. No. 238) is

  DENIED. The clerk of court is directed to transmit a copy of this order to all counsel of record.

         Entered: February 10, 2023.



                                                       /s/ Elizabeth K. Dillon
                                                       Elizabeth K. Dillon
                                                       United States District Judge




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